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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 19-21391-CIV-WILLIAMS

  KENDRA MOORE,

                  Plaintiff,

  v.

  KING GAME, INC., a Florida for-profit corporation
  d/b/a DR. BILLIARDS, and MARC O. FITZ-RITSON,

              Defendants.
  ____________________________________________/

                        STATEMENT OF WAGES OWED IN FLSA CASE

           The Plaintiff, by and through undersigned counsel, and pursuant to the Court’s Notice of

  Court Practice (DE 4), files this Statement of Wages Owed in FLSA Case, and states as follows:

           A. Minimum Wage Claim


  Time                    Minimum       Hours          Weeks          Owed           Total
  Period                  Wage          Per Week                      Per Week       Owed

  4/3/2017 –              $8.10         18             19             $145.80        $2,770.20
  8/14/2017

  8/15/2017 –             $8.10         54             19             $437.40        $8,310.60
  12/31/2017

  1/1/2018 –              $8.25         54             25             $445.50        $11,137.50
  6/29/2018

  6/30/2018 –             $8.25         6.25           12             $51.56         $618.75
  9/22/2018

  9/23/2018 –             $8.25         18             1.5            $74.25         $148.50
  10/3/2018

  10/4/2018 –             $8.25         2              3              $16.50         $49.50
  10/25/2018
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  1/31/2019 –            $8.46          14             3              $118.44         $355.32
  2/20/2019


           In total, Plaintiff should have been paid about $23,323.27 during her employment, however

  the Defendants only paid her about $2,700.00 in total—paid sporadically and in arbitrary amounts.

  Thus, for 2,859 hours, the Plaintiff is owed minimum wages of about $20,623.27 ($23,323.27 -

  $2,700 = $20,323.27), exclusive of liquidated damages, attorneys’ fees and costs.

           B. Unpaid Overtime Claim (excludes Minimum Wages Owed, Above)


  Time                   Overtime       Hours          Weeks          Owed            Total
  Period                 Premium                       Per Week       Per Week        Owed

  8/15/2017 –            $4.05          14             19             $56.70          $1,077.30
  12/31/2017

  1/1/2018 –             $4.13          14             25             $57.82          $1,445.50
  6/29/2018


           Plaintiff is owed overtime in the amount of $2,522.80 ($1,077.30 + $1,445.50 = $2,522.80)

  exclusive of liquidated damages, attorneys’ fees and costs.

                                                       Respectfully submitted,

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